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GILBERTO cRUZ, ET AL., § l f,ww`“_ az l

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Plaintiffs, § l

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vs. § No. 4 17-cv-491-A

§
ALLSTATE vEHIcLE AND PRoPERTY §
INSURANCE coMPANY, ET AL., §
§
Defendants. §

MEMORANDUM OPINION AND ORDER

Came on for consideration the motions of defendants, Alstate
Vehicle and Property Insurance Company (“Allstate”), and Robert
White (“White”), to dismiss. Plaintiffs, Gilberto Cruz and Carina
Cruz, have failed to respond to the motions, which are ripe for
ruling.l The court, having considered the motions, the record,
and applicable authorities, finds that the motions should be
granted.

I.
Plaintiffs' Claims
The operative pleading is plaintiffs' first amended

complaint, filed July 31, 2017, Doc.2 16, as required by the

 

lEarlier today, plaintiffs submitted for filing a motion to extend the time for filing their response
to the motions, along With the proposed response and brief in support. The court ordered that these
documents be stricken as they contained simulated signatures The court has considered the substance of
the response and is satisfied that the outcome Would not have been different had it been properly filed.

2The “Doc. _” reference is to the number of the item on the docket in this action.

 

 

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court's order of July 18, 2017, for repleading.3 Doc. 13. Under
the section titled “Facts” plaintiffs allege that they are owners
of an insurance policy issued by Allstate covering property owned
by them in Tarrant County, Texas; that on or about March 17,
2106, a hail or wind storm caused severe damage to their
property; they submitted a claim; on or about April 2, 2016,
White, the adjustor assigned by Allstate, inspected the property;
and, White corresponded with plaintiffs by letter dated April 2,
2016. Under the section titled “Causes of Action,” plaintiffs
allege (l) White's noncompliance with the Texas Insurance Code
provisions on unfair settlement practices; (2) both defendants’
engaging in fraud and conspiracy to commit fraud; and (3)
Allstate's breach of contract, noncompliance with the Texas
Insurance Code unfair settlement practices and prompt payment of
claims provisions, and breach of duty of good faith and fair
dealing.
II.
Grounds of the Motions
Defendants maintain that plaintiffs have failed to plead any

plausible causes of action against either of them.

 

3The order cautioned plaintiffs to pay particular attention to the pleading requirements of Rule 8
of the Federal Rules of Civil Procedure, as explained and clarified by the Supreme Court in Bell Atl.
Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Igbal, 556 U.S. 662 (2009), as Well as the
requirements of Fed. R. Civ. P. 9(b) and lO.

 

 

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III.

Applicable Pleadinq Standards

 

Rule 8(a)(2) of the Federal Rules of Civil Procedure
provides, in a general way, the applicable standard of pleading.
lt requires that a complaint contain "a short and plain statement
of the claim showing that the pleader is entitled to relief,"
Fed. R. Civ. P. 8(a)(2), "in order to give the defendant fair
notice of what the claim is and the grounds upon which it rests,”
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal
quotation marks and ellipsis omitted). Although a complaint need
not contain detailed factual allegations, the "showing"
contemplated by Rule 8 requires the plaintiff to do more than
simply allege legal conclusions or recite the elements of a cause
of action. Twombly, 550 U.S. at 555 & n.3. Thus, while a court
must accept all of the factual allegations in the complaint as
true, it need not credit bare legal conclusions that are
unsupported by any factual underpinnings. See Ashcroft v. Iqbal,
556 U.S. 662, 679 (2009) ("While legal conclusions can provide
the framework of a complaint, they must be supported by factual
allegations.").

Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiff's right to relief is plausible. Iqbal, 556

 

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U.S. at 678. To allege a plausible right to relief, the facts
pleaded must suggest liability; allegations that are merely
consistent with unlawful conduct are insufficient. ld; In other
words, where the facts pleaded do no more than permit the court
to infer the possibility of misconduct, the complaint has not
shown that the pleader is entitled to relief, ld; at 679.
"Determining whether a complaint states a plausible claim for
relief . . . [is] a context-specific task that requires the
reviewing court to draw on its judicial experience and common
sense." ld;

As the Fifth Circuit has explained: “Where the complaint is
devoid of facts that would put the defendant on notice as to what
conduct supports the claims, the complaint fails to satisfy the
requirement of notice pleading.” Anderson v. U.S. Dep't of
Housinq & Urban Dev , 554 F.3d 525, 528 (5th Cir. 2008). In sum,
“a complaint must do more than name laws that may have been
violated by the defendant; it must also allege facts regarding
what conduct violated those laws. In other words, a complaint
must put the defendant on notice as to what conduct is being
called for defense in a court of law ” ;d; at 528-29.

Rule 9(b) sets forth the heightened pleading standard

imposed for fraud claims: “In alleging fraud or mistake, a party

must state with particularity the circumstances constituting

 

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fraud or mistake.” The Fifth Circuit requires a party asserting
fraud to “specify the statements contended to be fraudulent,
identify the speaker, state when and where the statements were
made, and explain why the statements were fraudulent.” Hermann
Holdings, Ltd. v. Lucent Techs., Inc., 302 F.3d 552, 564-65 (5th
Cir. 2002)(internal quotations and citations omitted). Succinctly
stated, Rule 9(b) requires a party to identify “the who, what,
when, where, and how” of the events constituting the purported
fraud. Dorsey v. Portfolio Equities, Inc., 540 F.3d 333, 339 (5th
Cir. 2008). Claims alleging violations of the Texas Insurance
Code and DTPA of the kind asserted here are subject to the
requirements of Rule 9(b). Omni USA, Inc. v. Parker-Hannifin
gg;p;, 798 F. supp. 2d 831, 836 (s.D. Tex. 2011); Frith v.
Guardian Life Ins. Co. of Am., 9 F. Supp. 2d 734, 742 (S.D. TeX.
1998) .
IV.
Analysis

Plaintiffs have pleaded very few facts at all. Aside from
the facts recited, supra, the remainder of the “Facts” section of
the amended Complaint contains only conclusory allegations. For
example, plaintiff allege that defendants knowingly or recklessly

made false representations, Doc. 16 at 8, q 29, but they never

allege what was said by whom, to whom, when or where, They have

 

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not explained what happened or the nature of, or even the extent
of, the damages their property allegedly incurred. They do not
explain what White did or failed to do that caused his

inspection of the property to be inadequate.4 They never set
forth the amount they say they are entitled to receive or the
amount that was paid. They recite laundry list items from various
statutes, but allege no facts to explain or support the
allegations.

As the court previously noted in a similar case, no
plausible cause of action for breach of contract can be stated
unless there is an allegation as to the exact nature of the
contract, including a statement as to the defendant's obligations
under the contract, how the defendant failed to comply with its
contractual obligations, and how that damaged the plaintiff.
Radenbauqh v. State Farm Llovds, No. 4:13-CV-339-A, 2013 WL
4442024, at *4 (N.D. Tex. Aug. 16, 2013). Here, at most,
plaintiffs' complaint seems to be that they did not get paid as
much as they think they should have been paid, but they have not
alleged any facts to show that Allstate breached a contract

between them.

 

4Plaintiffs do not allege the date they submitted their claim, but admit that White inspected the
property on April 2, sixteen days from the date the damage Was allegedly incurred. Further, they allege
that White corresponded With them that very day. Although they do not specifically Say so, it appears that
payment Was tendered to them on that date.

 

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There can be no recovery for extra-contractual damages for
mishandling claims unless the complained of acts or omissions
caused an injury independent of those that would have resulted

from a wrongful denial of policy benefits. Parkans Int'l LLC v.

 

Zurich Ins. Co., 299 F.3d 514, 519 (5th cir. 2002). In other
words, the manner in which the claims was investigated must by

the proximate cause of the damages alleged. Provident Am. Ins.

 

Co. v. Castaneda, 988 S.W 2d 189, 198-99 (Tex. 1998). Here,
plaintiffs have not alleged such a separate injury.5

Plaintiffs' extra-contractual claims also fail in that
plaintiffs have not met the requirements of Rule 9(b) of the
Federal Rules of Civil Procedure. They have failed to provide the
specifics necessary to state a fraud claim. Herrmann Holdings,
302 F.3d at 564-65. Because they have failed to state a fraud
claim, their civil conspiracy claim based on fraud also fails.
Okenkpu v. Allstate Texas Llovd's, No. H-11-2376, 2012 WL
1038678, *4 (S D. Tex. Mar. 27, 2012). Likewise, they have failed

to sufficiently plead any violation of the Texas Insurance Code.

 

5The court notes that the Supreme Court of Texas has Somewhat muddied (rather than clarified)
the Waters by its recent opinion in USAA Texas Llovds Co. v. Menchaca, No. 14-0721, 2017 WL
1311752 (Tex. Apr. 7, 2017). That opinion has not been released for publication and is subject to
revision or Withdrawal. In any event, the extra-contractual claims plaintiffs assert here are of the type
predicated on coverage under the insurance policy. Thus, if there is no breach of contract, the extra-
contractual damages do not survive. 2017 WL 1311752, at *4-5

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Omni USA, 798 F. Supp. 2d at 836-37; Berry v. Indianapolis Life
Ins. Co., 608 F. Supp. 2d 785, 800 (N.D. Tex. 2009).

And, as stated, plaintiffs have not pleaded any specific,
actionable conduct by White, but rather make nothing but generic,
conclusory, statute-tracking allegations. These are insufficient
to state a claim against White. Plascencia v. State Farm Lloyds,
NO. 4:l4-CV-524-A, 2014 WL 11474841 (N.D. TeX. Sept. 25, 2014);
Okenkpu, 2012 WL 1038678, at *7.

Finally, as was the case in Luna v. Nationwide Prop. & Cas.
Ins. Co., plaintiffs have failed to meet the pleading standards
for a common law breach of duty of good faith and fair dealing
against Allstate. 798 F. Supp. 2d 821, 830-31 (S.D. Tex. 2011).
They have not pleaded any facts showing that Allstate's liability
was reasonably clear, that their claims were covered under
particular provisions of the policy, and that Allstate knew at
the time it was failing to pay the amount clearly owed.
Plaintiffs have pleaded nothing more than labels and conclusions.

V.
QYM
The court ORDERS that defendants’ motions to dismiss be, and

are hereby, granted; that plaintiffs' claims against defendants

be, and are hereby, dismissed; and that plaintiffs take nothing

 

 

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on their claims against defendants.

SIGNED September 5, 2017.

    

 

 
  

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